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16
                          IN THE UNITED STATES DISTRICT COURT
17
                               FOR THE DISTRICT OF ARIZONA
18
19    United States of America,                            No. CR-18-00422-PHX-SMB
20                         Plaintiff,
                                                         UNITED STATES’ MOTION TO
21             v.                                        CONFIRM TRIAL SUBPOENAS
22
      Michael Lacey, et al.,
23
                           Defendants.
24
25
26
27          The United States respectfully requests the Court to confirm the trial subpoenas

28   issued to all witnesses for the previous jury trial dates of May 5, 2020, August 17, 2020,


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 1   January 12, 2021, April 12, 2021 and August 23, 2021 to remain in effect for the current
 2   jury trial set for February 9, 2022.
 3          Respectfully submitted this 15th day of October, 2021.
 4
                                              GLENN B. McCORMICK
 5                                            Acting United States Attorney
                                              District of Arizona
 6
                                              s/ Kevin M. Rapp
 7                                            KEVIN M. RAPP
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15                                            U.S. Department of Justice, Criminal Division
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16
17
18
19                                 CERTIFICATE OF SERVICE
20          I hereby certify that on this same date, I electronically transmitted the attached
21   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
22   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
23   as counsel of record.
24
25   s/ Marjorie Dieckman
     U.S. Attorney’s Office
26
27
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